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 4
     Attorney for Defendant
 5   BISMARK MARTIN OCAMPO

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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,             )        2:07-CR-00248-08 WBS
11                                         )
                              Plaintiff,   )
12                                         )        STIPULATION AND [PROPOSED]
     v.                                    )        ORDER TO MODIFY BRIEFING
13                                         )        SCHEDULE
                                           )
14   BISMARK MARTIN OCAMPO,                )
                                           )
15                           Defendant.    )
     __________________________________    )
16

17         On February 22, 2017, this Court ordered the deadline for the parties

18   to file a stipulation regarding a potential motion pursuant to Federal Rule

19   of Criminal procedure 35 and a possible Amendment 782 reduction to be

20   extended to March 23, 2017.    CR 1499.

21         The reason for this request is that the government needs additional

22   time to obtain all records necessary to assess the appropriate reductions

23   under Rule 35 and/or Amendment 782.       Ms. Radekin has no opposition to an

24   extension of time to allow the government to complete the tasks.

25         Accordingly, the parties stipulate and request that the date due for

26   the filing of a stipulation regarding a Rule 35 and/or Amendment 782

27   reduction be extended to April 24, 2017.       Assistant United States Attorney

28   Jason Hitt has authorized Ms. Radekin to sign this stipulation on his behalf.



               STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
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 1            The parties respectfully request the Court adopt the above stipulation.

 2   Dated: March 23, 2017                          PHILLIP A. TALBERT
                                                    Acting United States Attorney
 3
                                            By:     /s/ Jason Hitt
 4                                                  JASON HITT
                                                    Assistant United States
 5

 6   Dated: March 23, 2017                          /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
 7                                                  Attorney for Defendant
                                                    BISMARK MARTIN OCAMPO
 8

 9

10                                          ORDER

11            Pursuant to the parties’ stipulation, and good cause appearing, it is

12   hereby ordered that the current deadline for the filing of a stipulation

13   regarding a Rule 35 and/or Amendment 782 reduction, March 23, 2017 be

14   VACATED, and that the deadline for filing of such stipulation be extended to

15   April 24, 2017.

16   Dated:    March 24, 2017

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                 STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
